    Case 19-01298-5-JNC                 Doc 514 Filed 03/22/20 Entered 03/22/20 16:41:55               Page 1 of 1
VAN−110 Order and Notice for Status Conference − Rev. 01/06/2016

                             UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
IN RE:
CAH Acquisition Company 7, LLC                                     CASE NO.: 19−01298−5−JNC
( known aliases: Prague Community Hospital )
PO Box 953446                                                      DATE FILED: March 21, 2019
Saint Louis, MO 63195
                                                                   CHAPTER: 11
TaxID: 26−3465335




                                                  AMENDED
                                   ORDER AND NOTICE FOR STATUS CONFERENCE

THE PARTIES LISTED BELOW ARE HEREBY ORDERED to participate in a status conference by
telephone as indicated below:

DATE:        Thursday, March 26, 2020
TIME:        01:00 PM

to discuss the following issues:

Status Conference

The status conference will involve the following parties:

Judge Joseph N. Callaway
Jennifer Lyday/Jason Hendren/Thomas Waldrep
Kirsten Gardner/Marjorie Lynch
Any Interested Party

To join the conference call, please dial 1−888−273−3658, and enter the access code 3113071 # . If asked,
please do not join the conference call as the host, instead, press the # key and wait for the conference to
begin. The AT & T operator will ask you to state your name when the conference is about to begin.

DATED: March 22, 2020

                                                                      Joseph N. Callaway
                                                                      United States Bankruptcy Judge
